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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES SECURITIES AND EXCHANGE
 COMMISSION,
                                                           Civil No. 1:17-CV-04179-DLC
        Plaintiff,
                                                           Honorable Judge Denise L. Cote
                                                           Magistrate Judge Ronald L. Ellis
 v.
                                                           NOTICE OF APPEARANCE
 ALPINE SECURITIES CORPORATION,
                                                                OF COUNSEL
        Defendant.


       TO THE CLERK OF COURT AND ALL PARTIES OF RECORD:

       PLEASE TAKE NOTICE that Brent R. Baker of Clyde Snow & Sessions hereby enters

his appearance as counsel in the above-referenced action for Defendant Alpine Securities

Corporation. I hereby certify that I am admitted to practice in the United States District Court

for the Southern District of New York.

       DATED this 3rd day of August 2017.



                                            /s/ Brent R. Baker
                                            Brent R. Baker (BB 8285)
                                            Aaron D. Lebenta (Pro Hac Vice Pending)
                                            Jonathan D. Bletzacker (Pro Hac Vice Pending)
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